          Case 1:19-cr-00125-ABJ Document 71 Filed 07/19/19 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                    Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


                    NOTICE OF POSITION REGARDING REFERRAL

       Defendant hereby gives notice that he will not seek to introduce evidence during the trial

of this case – whether through testimony or documentary evidence – of the “Report of

Investigative Findings” published on October 14, 2010 by Akin Gump Strauss Hauer & Feld

LLP, Trout Cacheris PLLC, and Kroll, Inc. Defendant therefore does not believe that there is any

need for a referral of any evidentiary determinations to another judge.
         Case 1:19-cr-00125-ABJ Document 71 Filed 07/19/19 Page 2 of 3



Dated: July 19, 2019                       Respectfully submitted,


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                                       2
         Case 1:19-cr-00125-ABJ Document 71 Filed 07/19/19 Page 3 of 3



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 19, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF service.


                                                 /s/ Ezra B. Marcus
                                              Ezra B. Marcus
